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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 2.5
                                 Eastern Division

Lisa Scandora
                                     Plaintiff,
v.                                                     Case No.: 1:05−cv−01206
                                                       Honorable Virginia M. Kendall
Village of Melrose Park, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 18, 2006:


       MINUTE entry before Judge Sidney I. Schenkier : Status hearing held and
continued to 11/22/2006 at 09:00 AM.Mailed notice(mmm, )




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